                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION


BRIAN G. HEYER,

               Plaintiff,
                                               Case No.: 1:19-cv-00015-WCG
       v.

EXPERIAN INFORMATION
SOLUTIONS, INC., ET AL.,

               Defendants.


            DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
                RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       The undersigned counsel of record for Defendant Experian Information Solutions, Inc.,

furnishes the following list in compliance with Civil L.R. 7.1 and Fed. R. Civ. P. 7.1:

       1.      The full name of the only party undersigned counsel represents in this case is

Experian Information Solutions, Inc.

       2.      The ultimate parent company of Experian Information Solutions, Inc. is

Experian plc. Experian plc owns 100 percent of Experian Information Solutions, Inc.

Experian plc is registered as a public company in Jersey, Channel Islands, and is publicly traded

on the London Stock Exchange.

       3.      Experian Information Solutions, Inc. is represented by counsel from Michael Best

& Friedrich, LLP in this action. Experian Information Solutions, Inc. is also represented by its

national counsel from Jones Day.




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Dated: May 1, 2019                    Respectfully submitted,



                                       /s/ Marie G. Bahoora
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